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UNITED STATES OF AMERICA                   )                                                    DEPClERi(
                                           )
V.                                         )       No. 4:19CR0O~7J        J((,g
                              )
CLIFTON LOUIS WILLIAMS ET AL. )

                          MOTION TO SEAL INDICTMENT

       Pursuant to Federal Rule of Criminal Procedure 6(e)(4 ), and in order to prevent

flight of the defendants prior to arrest and to protect officers executing the arrest

warrants, the United States requests that the above-styled indictment be sealed until the

defendants are in custody or have been released pending trial.


                                           CODY HILAND
                                           United States Attorney



                                        ~    .... ~
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                                          ORDER

       Pursuant to the above request, the indictment in this matter shall be sealed until the

defendant is in custody or has been released pending trial.



DATE
